Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.690 Page 1 of 26




           Exhibit 1
           6/18/2018: Plaintiff’s state court filings for contempt
           proceedings after the appellate courts declined to
           stay the trial court’s order to disclose records.

           Rudd v. Norton Shores Michigan FOIA Litigation
           17-004334-CZ 14th Circuit Court, Hon. Timothy G. Hicks
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.691 Page 2 of 26




June 18, 2018

RUDD v NORTON SHORES 17-4334-CZ
Notice of Hearing and Order to Show Cause for Contempt:

Please see the enclosed documents:
   1) A copy of the order entered by the Hon. Timothy Hicks on 6/15/18,
      directing the City of Norton Shows to appear and show cause why
      the City should not be held in contempt.
            The hearing on this matter has been set for
             June 29, 2018 at 1:30pm.
   2) A copy of my 6/12/18 filings asking Judge Hicks to initiate
      contempt proceedings (with exhibits, supporting affidavit, and
      proposed order).
   3) My 6/14/18 Supplemental filing with a minor correction of error
      and additional notice of records improperly withheld.

Sincerely,


  o_wt^i
Daniel W. Rudd
Plaintiff, Pro Se
201 S LAKE AVE, SPRING LAKE, MI 49456
231-557-2532 daniel@stock20.com
RECEIVED 6/12/2018
          Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.692 Page 3 of 26




                                       IN THE STATE OF MICHIGAN                           2017-004334-CZ
                        IN THE 14th CIRCUIT COURT FOR THE COUNTY O                        CCR-OSC
                                                                                          PROPOSED
            DANIEL W. RUDD,

                     Plaintiff,                        FileNo.2017-004334-CZ
                                                       Honorable Timothy G. Hicks


            CITY OF NORTON SHORES,

                     Defendant.

            Daniel W. Rudd                             Michael Bogren, Lisa A. Hall, Mary Massaron
            Plaintiff, Pro Se                          PLUNKETT Cooney, P.C. for Defendant
            201 S Lake Ave                             950 Trade Centre Way, Suite 310
            Spring Lake, MI 49456                      Kalamazoo, Michigan 49002
            (231)557-2532                              (269)226-8822 & (616)752-4615
            daniel@stock20.com                         mbogren@plunkettcooney.com lhall@plunkettcooney.com


                                             ORDER TO SHOW CAUSE



                Having reviewed Plaintiffs ex parte motion to initiate contempt proceedings, along with
             Plaintiffs supporting affidavit. IT IS ORDERED:

                The City of Norton Shores shall appear, through counsel or authorized representative,
             and show cause why the City of Norton Shores should not be held in

                                  civil contempt of court criminal contempt of court

             for failure to comply with this Court's 5/3/18 Order & Opinion regarding disclosure of the

             complaints against the City.

                                                  NOTICE OF HEARING:

               This matter will be heard by the Court on June 29, 2018                 at 1:30 PM
              in the courtroom of the Honorable Judge Hicks, sixth floor, Muskegon County Courthouse.
                                            990 Terrace St. Muskegon, MI 49442


                                                       Page 1 of2
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.693 Page 4 of 26




                                   SERVICE OF THIS ORDER:

     Plaintiff shall serve a copy of this order, along with the ex parte motion and supporting
  affidavit. The same shall be served on the City of Norton Shores by hand delivery to the City
   clerk, mayor, administrator, or FOIA administrator at the Norton Shores City headquarters.
    Plaintiff shall additionally send the same documents to the attorneys listed in the caption
    above by e-mail, with an additional copy sent to Plunkett Cooney by first class mail at the
                                      address noted above.
                                                                    June 21, 2018
             The aforementioned service must be completed by



      It is so Ordered:




                                              I   TIMOTHY   G.   HICKS:   P-35198

                                              Honorable ffflo'ffiyWffi','Circuit Court'Judge




                                           Page 2 of2
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.694 Page 5 of 26




                               IN THE STATE OF MICHIGAN
                        TH
            IN THE 14        CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

DANIEL W. RUDD,

        Plaintiff,                        File No. 2017-004334-CZ
                                          Honorable Timothy G. Hicks
       v.

CITY OF NORTON SHORES,

        Defendant.

Daniel W. Rudd                            Michael Bogren, Lisa A. Hall, Mary Massaron
Plaintiff, Pro Se                         PLUNKETT COONEY, P.C. for Defendant
201 S Lake Ave                            950 Trade Centre Way, Suite 310
Spring Lake, MI 49456                     Kalamazoo, Michigan 49002
(231) 557-2532                            (269) 226-8822 & (616)752-4615
daniel@stock20.com                        mbogren@plunkettcooney.com lhall@plunkettcooney.com


   PLAINTIFF’S EX PARTE MOTION TO INITIATE CONTEMPT PROCEEDINGS
                 AGAINST THE CITY OF NORTON SHORES



    Plaintiff, Daniel Rudd, asks this Court to initiate contempt proceedings against the City
of Norton Shores for willful defiance of this Court’s 5/3/18 disclosure order. In support of
this request, and pursuant to MCR 3.606(A), Plaintiff submits the present ex parte motion,
along with a supporting affidavit.

1) On 5/3/18 this Court ruled in Plaintiff’s favor regarding “Complaints against the City.”
More specifically, this Court ruled “There is no specific statutory exemption for the
complaints themselves.” (p.4, ¶2).

2) The City was ordered “to provide Rudd with the initial complaints filed against Norton
Shores Police during the applicable time period.” (p.6, ¶2)

3) The City was originally given 14 days to comply with the 5/3/18 disclosure order.
However, after advising the Court that a motion for reconsideration was forthcoming, the
City was granted an extension of time (until 6/7/18).
                                         Page 1 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.695 Page 6 of 26




4) The City did not file a motion for reconsideration, or ever present a non-frivolous basis
for a challenge to the disclosure order.

5) Instead the City filed a claim of appeal (COA No. 343759) and an application for leave to
appeal (COA No. 343942). The City primarily focused on obtaining a stay of the disclosure
order, relying upon the same frivolous legal positions which were rightly rejected by this
Court during the lengthy hearings on summary disposition.

6) The City’s emergency filings were extensive in both the Court of Appeals and the
Michigan Supreme Court. The City indicated that a stay of the 5/3/18 disclosure order was:
         “necessary so as to preserve the City’s right to appeal or risk a finding of contempt
         for noncompliance pending outcome of the appellate process.”1

7) The Court of Appeals entered an order on 5/31/18 denying the City’s emergency motion
to stay execution of judgement pending appeal. The corresponding application for leave to
appeal (with the emergency motions) was dismissed as duplicative. See Exhibit A.

8) On 6/6/18, the Michigan Supreme Court ruled that “The application for leave to appeal
the May 31, 2018 order of the Court of Appeals is considered, and it is DENIED, because we
are not persuaded that the question presented should be reviewed by this Court.” (Exhibit A)

9) On 6/7/18 the City mailed approximately 47 pages to Plaintiff comprising 17 complaints
against the City. Although this Court deemed those records non-exempt the City withheld
substantial information by way of unauthorized redactions.

10) Some of the complaints are heavily redacted as to the nature of the compliant. See
Exhibit B.

11) The names of officers who are the subject of the complaints have been redacted from all
of the complaints.

12) The names of the complainants have been redacted entirely on all complaints.


1
    (p.9 Emergency Application For Leave to Appeal, MSC No. 157879, emphasis added).
                                             Page 2 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.696 Page 7 of 26




13) The “IA-Number” has been redacted or obscured on seven of the seventeen complaints.

14) MCL 15.240(4) states in pertinent part (emphasis added):
       In an action commenced under subsection (1)(b), a court that determines a public
       record is not exempt from disclosure shall order the public body to cease
       withholding or to produce all or a portion of a public record wrongfully withheld,
       regardless of the location of the public record.

15) After giving the City extensive opportunity to be heard and conducting an in camera
review of the documents, this Court determined that the complaints against the City were not
exempt from disclosure. As required by the statute, this Court ordered the public body to

produce these records.
       For all these reasons, the court grants relief to the plaintiff pursuant to MCR
       2.116(I)(2) and orders the City to provide Rudd with the initial complaints filed
       against Norton Shores Police during the applicable time period.
       The court will "carve out" one class of complaints which need not be disclosed.
       Focusing on "the big picture," a complaint made by one Norton Shores officer
       against another officer can be considered a personnel matter that need not be
       disclosed. (p.6, ¶¶2-3)

16) The City was authorized to “carve out” a singular portion of the records which they were
ordered to disclose. The City was not authorized to “carve out” any other portion.

17) Further, this Court was not ambiguous in addressing the City’s opposition to disclosing
the identity of the officers or complainants (emphasis in the original):
       Yes, the information in the complaints might be embarrassing to the police force to
       some extent. Yes, there might be some chilling effect on the citizenry at large if the
       names of the complainants are disclosed. The public's interest in disclosure
       outweighs the reasons not to disclose. (p.5, ¶2)
       There is a public interest in knowing if an officer or department is involved in some
       untoward behavior, or worse, a pattern of inappropriate conduct (p.5, ¶3)
       Public confidence in the force could improve with knowledge that the City was, and
       did, monitor its own officers' behavior. Suppressing this information generates its
       own issues. (p.5, ¶4)




                                           Page 3 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.697 Page 8 of 26




18) By continuing to suppress this information, the City has undermined public’s interest (as
expressed by the legislature and confirmed by this Court) in holding local governments
accountable. The City has made it impossible for the public to appreciate “a pattern of
inappropriate conduct” and/or preferential treatment of certain officers.

19) The specific wording of the disclosure order indicates the Court’s intention for the
“names of the complainants” to be disclosed. (“…if the names of the complainants are
disclosed.” p.5, ¶2)

20) The City attempted to obscure this issue on appeal through blatant misrepresentation.

21) For example, this Court’s 5/3/18 Opinion clearly balanced the public’s interest in
disclosure against the speculative possibility (“might”) for there to be a limited (“some”)
chilling effect on the Citizenry if the names of complainants were released:
       “Yes, there might be some chilling effect on the Citizenry at large if the names of the
       complainants are disclosed. The public’s interest in disclosure outweighs the reasons
       not to disclose.” (p.5, ¶2, italics original).

22) On appeal, the City altered this wording in two discrete, but substantial ways—removing
the Court’s italics from the word “some” and substituting “would” for “might” (replacing
speculative possibility with certainty (a difference with significant effect2). The City claimed:3
       “Additionally, the trial court here determined that the public interest in disclosure of
       citizen complaints outweighed the interest in nondisclosure - even though the trial
       court recognized that there would be "some chilling effect on the Citizenry at large if
       the names of the complainants are disclosed."

Then based upon this material misrepresentation, the City proceeded to suggest that:
       …“The trial court's position is nonsensical, given that the interest of the
       complaining citizens is directly at issue, and that, if such information is disclosed,
       the citizenry at large will be affected by a diminished willingness to come forward
       with complaints.” (emphasis added)

2
  The balancing test for some exemptions under Michigan’s FOIA statute places substantial emphasis on
the difference between the speculative “could” and the definite “would.” See Herald Co. v. City of
Kalamazoo, 581 N.W.2d 295, 229 Mich. App. 376 (Ct. App. 1998), applying this discussion to
interference with the investigative efforts of law enforcement.
3
  P.7, ¶19 of the City’s “EMERGENCY MOTION TO STAY EXECUTION OF JUDGEMENT
PENDING APPEAL” Filed on 5/22/18 in COA No. 343942, and 5/21/18 in COA No. 343759
                                              Page 4 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.698 Page 9 of 26




23) These alterations to the actual wording of the 5/3/18 Opinion falsely convey an
irrational decision-maker AND an exaggerated specter of irreparable harm to civilians.

24) This is only one example of bad faith litigation tactics which focused upon these specific
disclosures (now improperly redacted).

25) Both the Court of Appeals and the Michigan Supreme Court considered the City’s
concerns on this issue. Both reviewing courts were fully appraised that denying this relief
would require disclosure of the complaints against the City (including identifying
information). Neither party disputed the City’s contention that disclosure of the complainants
identity would be the irreversible consequence of the disclosure order—unless a stay was
granted.

26) On 6/6/18 our Supreme Court ruled that that the City’s application for leave to appeal
“is considered, and it is DENIED,”—thus settling this dispute with finality upon proper
consideration. See Exhibit A.

27) Even after these determinative rulings, the City flaunted the authority of this Court by
redacting substantial portions of records deemed non-exempt. These are not isolated
incidences or momentary lapses in judgment. The City has engaged in a continuity of
calculated efforts to subversively undermine this Court’s disclosure order.

28) It is important to note that the The City (and the City’s attorneys) have repeatedly
demonstrated their knowledge that the 5/3/18 order required them to disclose the full
complaints without redacting identifying information. For example, the City’s 6/1/18 filing
in the Michigan Supreme Court states:
       “A stay is critical because the confidentiality of the complaining citizen, once
       disclosed, cannot be regained.” 4


4
 p.2 of the City’s: “MOTION FOR IMMEDIATE CONSIDERATION OF ITS EMERGENCY
APPLICATION FOR LEAVE TO APPEAL THE COURT OF APPEALS MAY 31, 2018 ORDER
DENYING ITS EMERGENCY MOTION TO STAY EXECUTION OF JUDGMENT PENDING
APPEAL” filed 6/1/18, MSC No. 157879
                                          Page 5 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.699 Page 10 of 26




 29) Accordingly, the present violations demonstrate a willful and premediated disregard for
the law.

 30) Plaintiff no longer has confidence that the Plunkett Cooney attorneys are fulfilling their
sworn obligation as officers of this Court. In the present context, counsel for the City has
crossed the border between zealous advocacy and deliberate efforts to circumvent the proper
administration of justice.

 31) The language of the FOIA, along with a well-established body of case law, favors
expeditious resolution and disclosure of documents which have been improperly shielded
from public access.

 32) In light of the City’s prolonged recalcitrance, Plaintiff requests that copies of the records
deemed non-exempt would be disclosed on behalf of the City officials who have refused to
fulfill their legal obligations.

 33) Un-redacted versions of these documents were presumably submitted to the Court for in
camera review. This Court has inherent and statutory authority to fashion “any order proper
to fully effectuate the circuit courts' jurisdiction and judgments.” See MCL 600.611.

 34) Plaintiff requests an order directing court staff, to duplicate the un-redacted versions of
the records deemed non-exempt and effectuate the 5/3/18 ruling which has now been
affirmed by the Court of Appeals and the Supreme Court.

 35) Plaintiff submits this motion with a supporting affidavit, while also asking this Court to
take judicial notice of its own records as the basis for initiating contempt proceedings.5




 5
   A court can take judicial notice of its own records to satisfy the requirement of MCL 600.1711(2) that
 proceedings must be initiated “by affidavit or other method.” In re Albert, 383 Mich 722, 724 (1970).
 (from the Contempt of Court Benchbook – Fifth Edition)
                                                 Page 6 of 7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.700 Page 11 of 26




WHEREFORE, Plaintiff asks this Court for the following relief.

    a) Issue an order requiring the City of Norton Shores to appear and explain why they
       should not be held in contempt for redacting substantial portions of the records which
       this Court deemed non-exempt.

    b) Direct court staff, or someone else, to act on behalf of the City, to reproduce the

       complaints against the city which have been deemed non-exempt (in their un-
       redacted form), and provide these records to Plaintiff as previously ordered.

    c) Effectuate any other relief which justice requires.



 Respectfully Submitted on June 12,2018 by, ( N, ( J ( J

                                                       DanieTw. Rudd, Plaintiff (Pro Se)
                                                       201 S Lake Ave. Spring Lake, MI 49456
                                                       231-557-2532 daniel@stock20.com




                                          Page 7 of7
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.701 Page 12 of 26




                          Exhibit A
 Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.702 Page 13 of 26


Order                                                                                       Michigan Supreme Court
                                                                                                  Lansing, Michigan

  June 6, 2018                                                                                        Stephen J. Markman,
                                                                                                                Chief Justice

                                                                                                           Brian K. Zahra
                                                                                                   Bridget M. McCormack
  157879 & (20)                                                                                          David F. Viviano
                                                                                                     Richard H. Bernstein
                                                                                                          Kurtis T. Wilder
                                                                                                    Elizabeth T. Clement,
  DANIEL W. RUDD,                                                                                                    Justices
            Plaintiff-Appellee,
  v                                                                 SC: 157879
                                                                    COA: 343759
                                                                    Muskegon CC: 17-004334-CZ
  CITY OF NORTON SHORES,
            Defendant-Appellant.

  _________________________________________/

        On order of the Court, the motion for immediate consideration is GRANTED.
  The application for leave to appeal the May 31, 2018 order of the Court of Appeals is
  considered, and it is DENIED, because we are not persuaded that the question presented
  should be reviewed by this Court.




                          I, Larry S. Royster, Clerk of the Michigan Supreme Court, certify that the
                    foregoing is a true and complete copy of the order entered at the direction of the Court.
                          June 6, 2018
         s0606
                                                                              Clerk
 Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.703 Page 14 of 26




                             Court of Appeals, State of Michigan

                                               ORDER
                                                                          Jane E. Markey
Daniel W Rudd v City of Norton Shores                                       Presiding Judge

Docket No.    343759                                                      William B. Murphy

LC No.        17-004334-CZ                                                Jane M. Beckering
                                                                            Judges


              The Court orders that the motion for immediate consideration of motion to stay execution
of judgment pending appeal and motion to waive the transcript requirement of MCR 7.209(A)(3) is
GRANTED. The Comi also orders that the motion for leave to file reply to response to emergency
motion to stay execution of judgment pending appeal is GRANTED and the reply brief filed with the
motion is accepted.

            The Com1 orders that the motion to waive the transcript requirement of MCR 7.209(A)(3)
is DISMISSED as moot because the transcript of the May 21, 2018 hearing has been provided.

             The Court orders that the emergency motion to stay execution of judgment pending
appeal is DENIED.




                        A true copy entered and certified by Jerome W. Zimmer Jr., Chief Clerk, on




                                  MAY 3 1 2018
                                        Date
6/12/2018                                           Case Search
            Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed  10/22/18 PageID.704 Page 15 of 26
Home Cases, Opinions & Orders


Case Search
 Case Docket Number Search Results ­ 343759


 Appellate Docket Sheet
 COA Case Number: 343759
 MSC Case Number: 157879
 DANIEL W RUDD V CITY OF NORTON SHORES



 1            RUDD DANIEL W                                                PL­AE­XT         PRO 

 2            NORTON SHORES CITY OF                                        DF­AT­XE         RET              (43885) MASSARON MARY




 COA Status: OPEN              MSC Status: Closed
 Case Flags: Freedom of Information Act
     05/11/2018       1 Claim of Appeal ­ Civil
                       Proof of Service Date: 05/11/2018
                       Jurisdictional Checklist: Y
                       Register of Actions: Y
                       Fee Code: EPAY
                       Attorney: 43885 ­ MASSARON MARY

     05/03/2018       2 Order Appealed From
                       From: MUSKEGON CIRCUIT COURT
                       Case Number: 17­004334­CZ
                       Trial Court Judge: 35198 HICKS TIMOTHY G
                       Nature of Case:
                         Summary Disposition Granted 

     05/11/2018       3 Transcript Complete Per Parties
                       Date: 05/11/2018
                       Filed By Attorney: 43885 ­ MASSARON MARY
                       Hearings:
                         12/22/2017  
                         04/02/2018  
                       Comments: per statement these transcripts have previously been filed

     05/16/2018       4 Notice Of Filing Transcript
                       Date: 04/28/2018
                       Reporter: 3841 ­ MCKEE MICHELLE M
                       Hearings:
                         12/22/2017  
                         04/02/2018  
                       Comments: 12/22/17 trns filed 1/26/18

     05/21/2018       5 Motion: Stay
                       Proof of Service Date: 05/21/2018
                       Filed By Attorney: 43885 ­ MASSARON MARY
                       For Party: 2 NORTON SHORES CITY OF DF­AT­XE
                       Fee Code: EPAY
                       Immediate Consideration: Y
                       Answer Due: 05/23/2018


http://courts.mi.gov/opinions_orders/case_search/pages/default.aspx?SearchType=1&CaseNumber=343759&CourtType_CaseNumber=2            1/3
6/12/2018                                           Case Search
            Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed  10/22/18 PageID.705 Page 16 of 26
    05/21/2018        6 Motion: Waive MCR 7.209 re Trans &/or Orders
                       Proof of Service Date: 05/21/2018
                       Filed By Attorney: 43885 ­ MASSARON MARY
                       For Party: 2 NORTON SHORES CITY OF DF­AT­XE
                       Fee Code: EPAY
                       Answer Due: 05/23/2018

    05/21/2018        7 Telephone Contact
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Pro Per
                       Comments: advised AE answer(s) to motns stay, I/C, & waive due by Noon Weds 5/23/18

    05/23/2018        8 Submitted On Special Motion Docket
                       Event: 5 Stay
                       Event: 6 Waive MCR 7.209 re Trans &/or Orders
                       District: G
                       Item #: 1

    05/23/2018        9 Answer ­ Motion
                       Proof of Service Date: 05/23/2018
                       Event No: 5 Stay
                       For Party: 1 RUDD DANIEL W PL­AE­XT

    05/24/2018        10 Appearance ­ Appellee
                       Date: 05/24/2018
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Filed By Pro Per

    05/24/2018        11 Motion: Reply to Answer
                       Proof of Service Date: 05/24/2018
                       Filed By Attorney: 43885 ­ MASSARON MARY
                       For Party: 2 NORTON SHORES CITY OF DF­AT­XE
                       Fee Code: EPAY
                       Answer Due: 05/31/2018
                       Comments: reply filed with motion

    05/24/2018        12 Transcript Filed By Party
                       Date: 05/24/2018
                       Reporter: 9285 ­ ADAMS JENNIFER T
                       Filed By Attorney: 43885 ­ MASSARON MARY
                       Hearings:
                         05/21/2018  

    05/24/2018        13 Submitted On Special Motion Docket
                       Event: 11 Reply to Answer
                       District: G
                       Item #: 1

    05/24/2018        14 Telephone Contact
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Pro Per
                       Comments: advised mot reply to answer being submitted to panel ­ answer due ASAP

    05/24/2018        18 Reply to Answer ­ Panel Grtd Mot to File
                       Proof of Service Date: 05/24/2018
                       Event No: 9 Answer ­ Motion
                       For Party: 2 NORTON SHORES CITY OF DF­AT­XE
                       Filed By Attorney: 43885 ­ MASSARON MARY

    05/29/2018        15 Notice Of Filing Transcript
                       Date: 05/23/2018
                       Timely: N

http://courts.mi.gov/opinions_orders/case_search/pages/default.aspx?SearchType=1&CaseNumber=343759&CourtType_CaseNumber=2   2/3
6/12/2018                                           Case Search
            Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed  10/22/18 PageID.706 Page 17 of 26
                       Reporter: 9285 ­ ADAMS JENNIFER T
                       Hearings:
                         05/21/2018 motion for stay 

    05/31/2018        16 Order: Stay ­ Deny
                       View document in PDF format
                       Event: 5 Stay
                       Event: 6 Waive MCR 7.209 re Trans &/or Orders
                       Event: 11 Reply to Answer
                       Panel: JEM,WBM,JMB
                       Immediate Consideration Granted
                       Attorney: 43885 ­ MASSARON MARY
                       Comments: grant mot reply to answer & accept reply; mot waive trns req of MCR 7.209 dismissed as moot

    05/31/2018        17 Verbal Order To Parties­Phone
                       Comments: left message for atty Massaron; verbal to Daniel Rudd

    06/01/2018        19 SCt: Inter Application
                       Supreme Court No: 157879
                       Fee: E­Pay
                       For Party: 2
                       Attorney: 43885 ­ MASSARON MARY

    06/01/2018        20 SCt Motion: Immediate Consideration
                       Party: 2
                       Filed by Attorney: 43885 ­ MASSARON MARY

    06/01/2018        22 Claim of Cross Appeal
                       Date: 06/01/2018
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Filed By Pro Per
                       Fee Code: FP

    06/04/2018        21 SCt: Miscellaneous Filing
                       Filing Date: 06/04/2018
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Filed By Pro Per
                       Comments: Labeled "Notice of Appearance" but saying pro per PL will file answer by 6518 at 1:00 PM.

    06/05/2018        23 SCt: Answer ­ SCt Application/Complaint
                       Filing Date: 06/05/2018
                       For Party: 1 RUDD DANIEL W PL­AE­XT
                       Filed By Pro Per

    06/06/2018        24 SCt Order: Deny Application/Complaint
                       View document in PDF format
                       Comments: Grant motion for IC. Deny interlocutory application.

    06/06/2018        25 Notice Of Filing Transcript
                       Date: 06/04/2018
                       Reporter: 3841 ­ MCKEE MICHELLE M
                       Hearings:
                         03/12/2018  
                         04/30/2018  
                         05/15/2018  

    06/07/2018        26 Docketing Statement MCR 7.204H
                       For Party: 2 NORTON SHORES CITY OF DF­AT­XE
                       Proof of Service Date: 06/07/2018
                       Filed By Attorney: 43885 ­ MASSARON MARY
 Case Listing Complete


http://courts.mi.gov/opinions_orders/case_search/pages/default.aspx?SearchType=1&CaseNumber=343759&CourtType_CaseNumber=2      3/3
Case 1:18-cv-00124-GJQ-RSK ECF No. 78-1 filed 10/22/18 PageID.707 Page 18 of 26




                          Exhibit B
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f NORTON SHORES POLICE DEPARTMENT                                                                   Official Complaint
                                                                                                                 Pagel

   Complainants Name


   Address
                                                                                                            0 Inqmixy
                                                                                                            □ InfdTmaJ
                                                                                                            QXFGtfraal
   Phone Number / E-mail                                                                                    Daet
                                                                                                            02/09/2015
   Date of Incident                 Time of Incident               Location of Incident

   02/07/2015                                                      Grand Rapids
   Employee(s) Involved




   NARRATIVE                          ailed description o

   I received a voice mail from a                        that stated that she had a complaint on an officer. The
   complainant identified the                                           I assigned this complaint to Lt. ICasher
   to interview the complainant.

   Chief Jon Gale

   COMPLAINT:

   On Monday February 9, 2015 I was advised by Chief Gale to contact a ■■■■ in reference to an
   officer complaint that occurred on Saturday night February 7, 2015. On Tuesday February 11, 20151
   called the complainant. The complainantt identified as ■■■■■ stated she was threatened and
   intimidated by ■■■■■■■■ when she and her friends were at a bar in Grand Rapids Saturday
   night. The bar was called Mojo's, located at 180 Monroe Ave in Grand Rapids Ml. The complainant was
   threaten with physical harm and was touched by HHHHIH on her arm while being
   threatened. HHHHHIBi was off duty and was with a female friend. The complainant stated
   this was witnessed by three other subjects.




   NOTICE: This document Is considered to be an official police report. Knowingly filing a false police report may be a
   violation of Michigan Statute 750.411a.


    Complainants Signature                                                            Date



    Received by                                                  ID#                  Date/Time

                                                                                          1-9-/s -
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    NORTON SHORES POLICE DEPARTMENT                                                                    Official Complaint
                                                                                                                          Pagel

    Complainants Name


    Address
                                                                   | Control Number
                                                                     IA -201646
                                                                     Assigned Investigator
                                                                                                                 i
                                                                     J. Gale                                  □ Inquiry
                                                                                                              d Informal
                                                                                                              DX Formal
    Phone Number / E-mail                                            Reviewed/Assigned by:                    Date
                                                                       J Gale                                 11/19/2016
    Date of Incident                 Time of Incident                  Location of Incident
    11/04/2016                       1137
    Employee(s) Involved




    NARRATIVE (provide detailed description of the incident/complaint):

    November 2, 2016

    I received a call from Lt. Kasher who was advised that HHLHLH°f the North Muskegon
    Police Department received a Harassment/Stalking complaint against ■■■■■■■I
            | stated he would interview the complainant HHbVHbVH^^ then would interview
                 | He would provide a copy of the report when completed.




    NOTICE; This document is considered to be an official police report Knowingly filing a false police report may be i
    violation of Michigan Statute 750.411a.


     Complainants Signature                                                              Date



     Received by                                                 !D#                     Date / Time
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                                IN THE STATE OF MICHIGAN
                         TH
             IN THE 14        CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

 DANIEL W. RUDD,

         Plaintiff,                        File No. 2017-004334-CZ
                                           Honorable Timothy G. Hicks
        v.

 CITY OF NORTON SHORES,

         Defendant.

 Daniel W. Rudd                            Michael Bogren, Lisa A. Hall, Mary Massaron
 Plaintiff, Pro Se                         PLUNKETT COONEY, P.C. for Defendant
 201 S Lake Ave                            950 Trade Centre Way, Suite 310
 Spring Lake, MI 49456                     Kalamazoo, Michigan 49002
 (231) 557-2532                            (269) 226-8822 & (616)752-4615
 daniel@stock20.com                        mbogren@plunkettcooney.com lhall@plunkettcooney.com


 PLAINTIFF’S AFFIDAVIT IN SUPPORT OF CONTEMPT PROCEEDINGS AGAINST
                     THE CITY OF NORTON SHORES
     Plaintiff, Daniel Rudd, is a competent adult who can testify to the matters stated herein.
 Plaintiff swears and affirms that:

 1) All the factual assertions in Plaintiff’s 6/12/18 motion for contempt proceedings agains
the City (filed along with this affidavit) are true and accurate to the best of Plaintiff’s
knowledge information and belief.

 2) On 6/11/18 Plaintiff received a mailing from the City, which contained approximately
47 pages, representing 17 complaints against the City.

 3) Some of the complaints are heavily redacted as to the nature of the compliant.

 4) The names of officers who are the subject of the complaints have been redacted from all
of the complaints.

 5) The names of the complainants have been redacted entirely on all complaints.

 6) The “IA-Number” has been redacted or obscured on seven of the seventeen complaints.

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   7) I promptly contacted opposing counsel by e-mail and urged them to review the portions
   of this Court's 5/3/18 Opinion which indicate the impropriety of these redactions, (sent to

  Attorney Bogren, Hall, & Massaron at 3:37pm on June 11, 2018).

   8) I have not received any indication that the City will remedy this error.

   9) The City did alter the wording of this Court's on appeal (as described in my motion and
   summarized here (emphasis added):

                "Additionally, the trial court here determined that the public interest in
                disclosure of citizen complaints outweighed the interest in nondisclosure -
                even though the trial court recognized that there would be "some chilling
                effect on the Citizenry at large if the names of the complainants are
                disclosed." (emphasis added)

   The City also stated:
           .."The trial court's position is nonsensical, given that the interest of the
           complaining citizens is directly at issue, and that, if such information is disclosed,
           the citizenry at large will be affected by a diminished willingness to come forward
           with complaints."

    10) The City's 6/1/18 "Emergency Application" to the Michigan Supreme Court states:
           "A stay is critical because the confidentiality of the complaining citizen, once
           disclosed, cannot be regained."

    11) For these reasons (and other reasons) Plaintiff believes that the City has willfully defied
   this Court's lawful order, even the Court of Appeals and the Michigan Supreme Court

   considered the City's voluminous filings and denied the relief they requested.



       Respectfully Submitted on June 12, 2018 by,
                                                                      Daniel W. Rudd (affiant)


This statement was subscribed and sworn before me on \jLLV\(Ls ICv olO )2>

 dm                    ^JjL*^.          _(Notary Signature)
^ \ m p \ a 7 ? , " F ff N P r ^ N O TA RY P U B L I C , C o u n t y o f Q $ C L U J C L f t o J l h G i n f e l C ^ t
 State of Michigan. My commission expires on: (~ QJ4 ~ sDCQ O ^) ^° - ^'

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                                                                         PROPOSED ORDER
                                IN THE STATE OF MICHIGAN
                         TH
            IN THE 14         CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

 DANIEL W. RUDD,

         Plaintiff,                          File No. 2017-004334-CZ
                                             Honorable Timothy G. Hicks
       v.

 CITY OF NORTON SHORES,

         Defendant.

 Daniel W. Rudd                              Michael Bogren, Lisa A. Hall, Mary Massaron
 Plaintiff, Pro Se                           PLUNKETT COONEY, P.C. for Defendant
 201 S Lake Ave                              950 Trade Centre Way, Suite 310
 Spring Lake, MI 49456                       Kalamazoo, Michigan 49002
 (231) 557-2532                              (269) 226-8822 & (616)752-4615
 daniel@stock20.com                          mbogren@plunkettcooney.com lhall@plunkettcooney.com


                                   ORDER TO SHOW CAUSE



     Having reviewed Plaintiff’s ex parte motion to initiate contempt proceedings, along with
 Plaintiff’s supporting affidavit. IT IS ORDERED:

     The City of Norton Shores shall appear, through counsel or authorized representative,
 and show cause why the City of Norton Shores should not be held in

                      __civil contempt of court    __ criminal contempt of court

 for failure to comply with this Court’s 5/3/18 Order & Opinion regarding disclosure of the
 complaints against the City.

                                       NOTICE OF HEARING:

   This matter will be heard by the Court on ______________________ at _______________,
  in the courtroom of the Honorable Judge Hicks, sixth floor, Muskegon County Courthouse.
                                 990 Terrace St. Muskegon, MI 49442


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                                                                     PROPOSED ORDER


                                  SERVICE OF THIS ORDER:

    Plaintiff shall serve a copy of this order, along with the ex parte motion and supporting
 affidavit. The same shall be served on the City of Norton Shores by hand delivery to the City
  clerk, mayor, administrator, or FOIA administrator at the Norton Shores City headquarters.
   Plaintiff shall additionally send the same documents to the attorneys listed in the caption
  above by e-mail, with an additional copy sent to Plunkett Cooney by first class mail at the
                                     address noted above.

           The aforementioned service must be completed by __________________



    It is so Ordered:




                                             Honorable Timothy Hicks, Circuit Court Judge




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                              IN THE STATE OF MICHIGAN
              IN THE 14™ CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

  DANIEL W. RUDD,
         Plaintiff, File No. 2017-004334-CZ
                              Honorable Timothy G. Hicks
       v.

  CITY OF NORTON SHORES,
         Defendant.

  Daniel W. Rudd Michael Bogren, Lisa A. Hall, Mary Massaron
  P l a i n t i f f , P r o S e P l u n k e t t C o o n e y, P. C . f o r D e f e n d a n t
  2 0 1 S L a k e A v e 9 5 0 Tr a d e C e n t r e Wa y, S u i t e 3 1 0
  Spring Lake, MI 49456 Kalamazoo, Michigan 49002
  (231)557-2532 (269)226-8822 & (616)752-4615
  daniel@stock20.com mbogren@plunkettcooney.com lhall@plunkettcooney.com

          PLAINTIFF'S EX PARTE SUPPLEMENTAL MOTION REGARDING
        CONTEMPT PROCEEDINGS AGAINST THE CITY OF NORTON SHORES
                        (WITH CORRECTION OF ERROR)



                                         Correction of Error

  1) Plaintiff previously advised this Court that the records produced by the City amounted to

  approximately 47 pages. This was an error. There were actually 36 pages of records

  produced. Plaintiff does not anticipate any way that misstating the number of pages could

  prejudice anyone or have a bearing upon the petition for contempt proceedings. However,
  Plaintiff sincerely apologizes for this mistake.




                                           Missing Records

  2) The City has provided six complaints submitted to the City in 2014,1 but the 2015 CALEA
  Accreditation report indicates that the City received seven "external Citizen Complaint [s]"

  during the year 2014. Only six of these have been produced, (see next page)

  1 These include the following "IA" numbers: 2014-01, 2014-05, 2014-08, 2014-09, 2014-10,
  2014-12.
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  ASSESSMENT REPORT
  Norton Shores (Ml) Police Department
  Page 18

  maintains a copy of all complaints against the department or its employees secured in
  accordance to the Bullard-Plaweki Employee Right to Know Act (MCL 423.501).

                        Complaints and internal Affairs Investigations
                           External                2012          2013       2014
                           Citizen Complaints        4            7            7
                           Sustained                 1            3            3
                           Not Sustained             2            0            1
                           Unfounded                 0            2            2
                           Exonerated                1            2            1

                           Internal
                           Directed complaint        2            4            5
                           Sustained                 0            3            5
                           Not Sustained             0            0            0
                           Unfounded                 0            0            0
                           Exonerated                2            1            0


  3) Finally, the complaint identified as "IA-2014-08" is missing an attachment which

  describes the actual citizen's complaint. The record provided references this "memo" and

  states "see attached." The memo is the complaint and should have been produced pursuant

  to the 5/3/18 order.



               On April 17,2014 at approx. 0900 hrs., 1 received a telephone from |
               ■■Hal requesting a face to face meeting regarding a personnel matter. We agreed to meet at
               the Brew House.

                          | provided me with a memo sent to him by ■■■■■■■ <k*ed April 15,2014
               in which he summarizes contact with ■■■■■■ earlier that day (see attached).
               ■■■Hstatcs that ■■■■■■■made verbal threats towards him in the Muskegon
               County Building. Apparently, ■■■■■ was in die County Building for a hearing
               related to his pending divorce.

               Though ■■■■■■■ was not on-duty at the time of this reported incident, the threats if
               accurate did imply retaliatory use of, or intentional withholding of, his law enforcement powers
               authorized by the City of Norton Shores. As such, this incident does impact the Norton Shores
               Police Department and must be investigated


  Respectfully Submitted on 6/14/18,




                                                    Daniel W. Rudd, Plaintiff (Pro Se)
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